4:04-cr-03028-RGK-RGK       Doc # 107    Filed: 11/01/05   Page 1 of 1 - Page ID # 348




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )           4:04CR3028
                                          )
             Plaintiff,                   )
                                          )
      vs.                                 )           JUDGMENT
                                          )
KEVIN LARON HOWELL,                       )
                                          )
             Defendant.                   )


      Pursuant to the memorandum and order entered this date,

       IT IS ORDERED that judgment is entered for the United States of America,
and against the defendant, Kevin Laron Howell, providing that the defendant shall
take nothing, and his motion to vacate, set aside, or correct his sentence (filing 105)
is denied with prejudice.

      November 1, 2005.                       BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
